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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH]

                                     Debtors. 1                          (Jointly Administered)


NOTICE OF AMENDED2 AGENDA FOR HEARING ON DECEMBER 12, 2023 AT 10:00
 A.M. (PREVAILING EASTERN TIME3) BEFORE THE HONORABLE THOMAS M.
HORAN IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE

    This hearing will be conducted via Zoom only before the Honorable Thomas M. Horan, in
     the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th
                Floor, Courtroom #5. All parties are expected to attend via Zoom.
                      All participants must register at the Zoom link below.
    https://debuscourts.zoomgov.com/meeting/register/vJItcOusrzMsHsg6EJOBvsTsXx1viAuEm-Y

      RESOLVED MATTERS

          1. Debtors' Application of the Debtors for Entry of an Order Authorizing the Retention
             and Employment of Back Bay Management Corporation and its Division, the Michel-
             Shaked Group, as Expert Consultant Effective as of October 31, 2023 [Filed November
             17, 2023, Docket No 749].

      Response Deadline: December 1, 2023 at 4:00 p.m. [ET].

          Responses Received: None.

          Related Documents:
                   a.        Affidavit of Service [Filed November 21, 2023, Docket No. 762].

                   b.        Certificate of No Objection Regarding Debtors' Application of the Debtors
                             for Entry of an Order Authorizing the Retention and Employment of Back
                             Bay Management Corporation and its Division, the Michel-Shaked Group,
                             as Expert Consultant Effective as of October 31, 2023 [Filed December 6,
                             2023, Docket No. 834].

1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      Amended items are in bold.
3
      All motions and other pleadings referenced herein are available online at the following web address:
      https://cases.stretto.com/Amyris.

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                 c.          [Signed] Order Authorizing the Retention and Employment of Back Bay
                             Management Corporation and its Division, the Michel-Shaked Group, as
                             Expert Consultant Effective as of October 31, 2023 [Filed December 7,
                             2023, Docket No. 844].

    Status: This matter has been resolved.

        2. Debtors Application for Entry of an Order (A) Authorizing the Employment and
           Retention of Gordon Rees Scully Mansukhani, LLP as Special Counsel Effective as of
           October 21, 2023 and (B) Granting Related Relief [Filed November 20 2023, Docket
           No. 752].

        Response Deadline: December 4, 2023 at 4:00 p.m. [ET].

        Responses Received: None.

        Related Documents:

                 a.          Declaration of Philip J. Gund in Support of Debtors Application for Entry
                             of an Order (A) Authorizing the Employment and Retention of Gordon Rees
                             Scully Mansukhani, LLP as Special Counsel Effective as of October 21,
                             2023 and (B) Granting Related Relief [Filed November 20 2023, Docket
                             No. 753].

                 b.          Affidavit of Service [Filed November 21, 2023, Docket No. 763].

                 c.          Certificate of No Objection Regarding Debtors Application for Entry of an
                             Order (A) Authorizing the Retention and Employment of Gordon Rees
                             Scully Mansukhani, LLP as Special Counsel Effective as of October 21,
                             2023 and (B) Granting Related Relief [Filed December 5, 2023, Docket
                             No. 851].

                 d.          [Signed] Order Under 327(e) of the Bankruptcy Code Authorizing the
                             Employment and Retention of Gordon Rees Scully Mansukhani, LLP as
                             Special Counsel for the Debtors Effective as of October 21, 2023 [Filed
                             December 6, 2023, Docket No. 825].

    Status: This matter has been resolved.

        3. Motion for Approval of Settlement Between the Debtors and the JVN Parties [Filed
           November 28, 2023, Docket No. 789].

        Response Deadline: December 5, 2023 at 4:00 p.m. [ET].

        Responses Received: None.

        Related Documents:

                 a.          Affidavit of Service [Filed November 29, 2023, Docket No. 798].

                 b.          Certificate of No Objection Regarding Debtors Motion to Approve
                             Compromise under Rule 9019 Motion for Approval of Settlement Between
                             the Debtors and the JVN Parties [Filed December 6, 2023, Docket No. 837].

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                 c.          [Signed] Order Granting Debtors' Motion for Approval of Settlement
                             Between the Debtors and the JVN Parties [Filed December 7, 2023, Docket
                             No. 845].

    Status: This matter has been resolved.

        CONTINUED MATTERS:

        4. Motion of Ad Hoc Cross-Holder Group for Appointment of Examiner Pursuant to
           11 U.S.C. § 1104(C) [Filed November 11, 2023, Docket No. 651].

        Response Deadline: November 10, 2023 at 4:00 p.m. [ET]. The response deadline has
        been extended to December 6, 2023.

        Responses Received:

                 a.          Debtors' Objection to the Motion of Ad Hoc Cross-Holder Group for
                             Appointment of Examiner Pursuant to 11 U.S.C. 1104(C) [Filed December
                             6, 2023, Docket No. 827].

                 b.          Joinder of the Ad Hoc Noteholder Group to Debtors' Objection to the
                             Motion of Ad Hoc Cross-Holder Group for Appointment of Examiner
                             Pursuant to 11 U.S.C. 1104(C) [Filed December 6, 2023, Docket No. 833].

        Related Documents:

                 a.          Amended Notice of Motion of Ad Hoc Cross-Holder Group for
                             Appointment of Examiner Pursuant to 11 U.S.C. § 1104(C) [Filed
                             November 1, 2023, Docket No. 657].

                 b.          Declaration of Steven W. Golden in Support of Debtors' Objection to the
                             Motion of Ad Hoc Cross-Holder Group for Appointment of Examiner
                             Pursuant to 11 U.S.C. 1104(C) [Filed December 6, 2023, Docket No. 829].

        Status: This matter is continued to January 24, 2024 at 10:00 A.M. (ET).

        MATTERS GOING FORWARD:

        5. Debtors’ Motion for an Order (I) Approving the Disclosure Statement; (II) Scheduling
           Confirmation Hearing; (III) Approving Form and Manner of Notice of Confirmation
           Hearing; (IV] Establishing Procedures for Solicitation and Tabulation of Votes to
           Accept or Reject Plan, Including (A) Approving Form and Content of Solicitation
           Materials; (B) Establishing Record Date and Approving Procedures for Distribution of
           Solicitation Materials; (C) Approving Forms of Ballots; (D) Establishing Voting
           Deadline for Receipt of Ballots and [E) Approving Procedures for Vote Tabulations;
           (V] Approving Form and Manner of Notice of Plan Releases; (VI) Establishing
           Deadline and Procedures for Filing Objections to Confirmation of Plan; and (VII)
           Granting Related Relief [Filed October 13, 2023, Docket No. 525].

        Response Deadline: November 14, 2023 at 5:00 p.m. [ET]. The response deadline has
        been extended to December 8, 2023. Replies are due by 12:00 p.m. [ET] on December 11,
        2023.



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        Responses Received:

                 a.          Objection and Reservation of Rights of Lexon Insurance Company to the
                             Debtors’ Motion for an Order (I) Approving the Disclosure Statement; (II)
                             Scheduling Confirmation Hearing; (III) Approving Form and Manner of
                             Notice of Confirmation Hearing; (IV] Establishing Procedures for
                             Solicitation and Tabulation of Votes to Accept or Reject Plan, Including (A)
                             Approving Form and Content of Solicitation Materials; (B) Establishing
                             Record Date and Approving Procedures for Distribution of Solicitation
                             Materials; (C) Approving Forms of Ballots; (D) Establishing Voting
                             Deadline for Receipt of Ballots and [E) Approving Procedures for Vote
                             Tabulations; (V] Approving Form and Manner of Notice of Plan Releases;
                             (VI) Establishing Deadline and Procedures for Filing Objections to
                             Confirmation of Plan; and (VII) Granting Related Relief [Filed November
                             14, 2023, Docket No. 728].

                 b.          Lavvan, Inc.’s Objection to Disclosure Statement [Filed November 14,
                             2023, Docket No. 730].

                 c.          United States Trustee’s Objection to Motion for an Order (I) Approving
                             the Disclosure Statement; (II) Scheduling Confirmation Hearing; (III)
                             Approving Form and Manner of Notice of Confirmation Hearing; (IV]
                             Establishing Procedures for Solicitation and Tabulation of Votes to Accept
                             or Reject Plan, Including (A) Approving Form and Content of Solicitation
                             Materials; (B) Establishing Record Date and Approving Procedures for
                             Distribution of Solicitation Materials; (C) Approving Forms of Ballots; (D)
                             Establishing Voting Deadline for Receipt of Ballots and [E) Approving
                             Procedures for Vote Tabulations; (V] Approving Form and Manner of
                             Notice of Plan Releases; (VI) Establishing Deadline and Procedures for
                             Filing Objections to Confirmation of Plan; and (VII) Granting Related
                             Relief [Filed November 16, 2023, Docket No. 742].

                 d.          DSM-Firmenich’s Reservation of Rights to the Debtors’ Disclosure
                             Statement Motion [Filed December 8, 2023, Docket No. 856].

                 e.          Objection and Reservation of Rights of Ad Hoc Cross-Holder Group
                             to Debtors' Motion for an Order (I) Approving the Disclosure
                             Statement; (II) Scheduling Confirmation Hearing; (III) Approving
                             Form and Manner of Notice of Confirmation Hearing; (IV)
                             Establishing Procedures for Solicitation and Tabulation of Votes to
                             Accept or Reject the Plan, (V) Approving Form and Manner of Notice
                             of Plan Releases, (VI) Establishing Deadline and Procedures for Filing
                             Objections to Confirmation of Plan; and (VII) Granting Related Relief
                             [Filed December 8, 2023, Docket No. 860].

        Reply:

                 a.          Debtors’ Omnibus Reply to Objections to Debtors’ Motion for an
                             Order (I) Approving the Disclosure Statement; (II) Scheduling
                             Confirmation Hearing; (III) Approving Form and Manner of Notice of
                             Confirmation Hearing; (IV) Establishing Procedures for Solicitation
                             and Tabulation of Votes to Accept or Reject Plan, Including (A)
                             Approving Form and Content of Solicitation Materials; (B)
                             Establishing Record Date and Approving Procedures for Distribution

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                             of Solicitation Materials; (C) Approving Forms of Ballots; (D)
                             Establishing Voting Deadline for Receipt of Ballots and (E) Approving
                             Procedures for Vote Tabulations; (V) Approving Form and Manner of
                             Notice of Plan Releases; (VI) Establishing Deadline and Procedures for
                             Filing Objections to Confirmation of Plan; and (VII) Granting Related
                             Relief [Filed December 11, 2023, Docket No. 869].

        Related Documents:

                 a.          Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and its Affiliated
                             Debtors [Filed October 12, 2023, Docket No. 523].

                 b.          Disclosure Statement with Respect to Joint Chapter 11 Plan of
                             Reorganization of Amyris, Inc. and its Affiliated Debtors [Filed October 12,
                             2023, Docket No. 524].

                 c.          Affidavit of Service [Filed October 26, 2023, Docket No. 624].
                 d.          First Supplemental Notice of Potential Assumption, Assumption and
                             Assignment, or Transfer of Executory Contracts and Unexpired Leases
                             [Filed December 1, 2023, Docket No. 807].

                 e.          Notice of Filing Revised Order (I) Approving the Disclosure Statement; (II)
                             Scheduling Confirmation Hearing; (III) Approving Form and Manner of
                             Notice of Confirmation Hearing; (IV] Establishing Procedures for
                             Solicitation and Tabulation of Votes to Accept or Reject Plan, Including (A)
                             Approving Form and Content of Solicitation Materials; (B) Establishing
                             Record Date and Approving Procedures for Distribution of Solicitation
                             Materials; (C) Approving Forms of Ballots; (D) Establishing Voting
                             Deadline for Receipt of Ballots and [E) Approving Procedures for Vote
                             Tabulations; (V] Approving Form and Manner of Notice of Plan Releases;
                             (VI) Establishing Deadline and Procedures for Filing Objections to
                             Confirmation of Plan; and (VII) Granting Related Relief [Filed December
                             1, 2023, Docket No. 808].

                 f.          Notice of Service Notice of Filing of Clean and Blackline Versions of: (A)
                             First Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and
                             Its Affiliated Debtors; and (B) First Amended Disclosure Statement With
                             Respect to Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its
                             Affiliated Debtors [Filed December 1, 2023, Docket No. 809].

                 g.          Notice of Service Notice of Filing of Clean and Blackline Versions of: (A)
                             Second Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc.
                             and Its Affiliated Debtors; and (B) Second Amended Disclosure Statement
                             With Respect to Joint Chapter 11 Plan of Reorganization of Amyris, Inc.
                             and Its Affiliated Debtors [Filed December 6, 2023, Docket No. 826].

                 h.          Notice of Filing of Revised Order (I) Approving the Second Amended
                             Disclosure Statement; (II) Scheduling Confirmation Hearing; (III)
                             Approving Form and Manner of Notice of Confirmation Hearing; (IV)
                             Establishing Procedures for Solicitation and Tabulation of Votes to Accept
                             or Reject Plan, Including (A) Approving Form and Content of Solicitation
                             Materials; (B) Establishing Record Date and Approving Procedures for
                             Distribution of Solicitation Materials; (C) Approving Forms of Ballots; (D)

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                             Establishing Voting Deadline for Receipt of Ballots and (E) Approving
                             Procedures for Vote Tabulations; (V) Approving Form and Manner of
                             Notice of Plan Releases; (VI) Establishing Deadline and Procedures for
                             Filing Objections to Confirmation of Plan; and (VII) Granting Related
                             Relief [Filed December 8, 2023, Docket No. 854].

        Status: This matter is going forward.

        6. Debtors’ Motion for Entry of an Order Establishing Confirmation Discovery Schedule
           and Protocols [Filed November 6, 2023, Docket No. 688].

        Response Deadline: November 14, 2023 at 4:00 p.m. [ET]. The response deadline has
        been extended to December 8, 2023. Replies are due by 12:00 p.m. [ET] on December 11,
        2023.

        Responses Received:
                 a.          Lavvan, Inc.’s Objection to Debtors’ Motion to Establish Discovery
                             Schedule and Protocols [Filed November 14, 2023, Docket No. 731].

                 b.          Objection and Reservation of Rights of Ad Hoc Cross-Holder Group to
                             Debtors' Motion for an Order (I) Approving the Disclosure Statement;
                             (II) Scheduling Confirmation Hearing; (III) Approving Form and
                             Manner of Notice of Confirmation Hearing; (IV) Establishing
                             Procedures for Solicitation and Tabulation of Votes to Accept or Reject
                             the Plan, (V) Approving Form and Manner of Notice of Plan Releases,
                             (VI) Establishing Deadline and Procedures for Filing Objections to
                             Confirmation of Plan; and (VII) Granting Related Relief [Filed
                             December 8, 2023, Docket No. 860].

        Reply:

                 a.          Debtors’ Reply in Support of Motion for Entry of an Order
                             Establishing Confirmation Discovery Schedule and Protocols [Filed
                             December 11, 2023, Docket No. 865].

        Related Documents:

                 a.          Affidavit of Service [Filed November 10, 2023, Docket No. 719].

        Status: This matter is going forward.

        7. Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the Debtors
           Brand Assets; (B) Approving Certain Bid Protections in Connection with the Debtors
           Entry into Any Potential Stalking Horse Agreements; (C) Scheduling the Auction and
           Sale Hearing; (D) Approving the Form and Manner of Notice Thereof; and [E)
           Granting Related Relief; and (II) An Order or Orders (A) Approving the Sale of the
           Debtors Brand Assets Free and Clear Of All Encumbrances; and (B) Approving the
           Assumption and Assignment of Executory Contracts and Unexpired Leases [Filed
           September 18, 2023, Docket No. 316].

        Response Deadline: December 5, 2023. The Response Deadline was extended to
        December 11, 2023 by Order entered December 4, 2023 [Docket No. 811].

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        Responses Received:

                 a.          Statement and Reservation of Rights of the Official Committee of
                             Unsecured Creditors to the Debtors' Motion for (I) an Order (A) Approving
                             Bid Procedures for the Sale of the Debtors Brand Assets; (B) Approving
                             Certain Bid Protections in Connection with the Debtors' Entry into Any
                             Potential Stalking Horse Agreements; (C) Scheduling the Auction and Sale
                             Hearing; (D) Approving the Form and Manner of Notice Thereof; and [E)
                             Granting Related Relief; and (II) An Order or Orders (A) Approving the
                             Sale of the Debtors Brand Assets Free and Clear Of All Encumbrances; and
                             (B) Approving the Assumption and Assignment of Executory Contracts and
                             Unexpired Leases [Filed October 12, 2023, Docket No. 516].

        Related Documents:

                 a.          [Signed] Order (A) Approving Bid Procedures for the Sale of the Debtors'
                             Brand Assets; (B) Approving Certain Bid Protections In Connection with
                             the Debtors' Entry Into Any Potential Stalking Horse Agreements; (C)
                             Scheduling the Auction and Sale Hearing; (D) Approving the Form and
                             Manner of Notice Thereof; and [E) Granting Related Relief [Filed October
                             16, 023, Docket No. 553].

                 b.          Notice of Extension of Certain Sale-Related Deadlines [Filed October 29,
                             023, Docket No. 628].

                 c.          Affidavit of Service [Filed November 10, 2023, Docket Nos. 718, 723, 739,
                             846].

                 d.          Notice of Auction for the Debtors' Brand Assets [Filed November 27, 2023,
                             Docket No. 785].

                 e.          Notice of Adjourned Auction for the Debtors' Brand Assets [Filed
                             November 28, 2023, Docket No. 788].

                 f.          Notice of Successful Bidders and Auction Results for Sale of Certain Assets
                             [Field December 1, 2023, Docket No. 803].

                 g.          Certification of Counsel Regarding Order Extending Certain Dates and
                             Deadlines as to the Biossance, Menolabs, Pipette, and 4U Sales [Filed
                             December 4, 2023, Docket No. 810].

                 h.          Order Extending Certain Dates and Deadlines as to the Biossance,
                             Menolabs, Pipette, and 4U Sales [Filed December 4, 2023, Docket No.
                             811].

                 i.          Notice of Filing of Successful Bidder and Auction Results for Sale of
                             MenoLabs Brand Assets [Filed December 5, 2023, Docket No. 823].

                 j.          Notice of Filing of Successful Bidder and Auction Results for Sale of 4U
                             Brand Assets [Filed December 5, 2023, Docket No. 824].
                 k.          Notice of Filing of Successful Bidder and Auction Results for Sale of
                             Biossance Brand Assets [Filed December 6, 2023, Docket No. 832].


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                 l.          Declaration of Lorie Beers in Support of Motion for (I) an Order (A)
                             Approving Bid Procedures for the Sale of the Debtors Brand Assets;
                             (B) Approving Certain Bid Protections in Connection with the Debtors
                             Entry Into Any Potential Stalking Horse Agreements; (C) Scheduling
                             the Auction and Sale Hearing; (D) Approving the Form and Manner of
                             Notice Thereof; and (E) Granting Related Relief; and (II) An Order or
                             Orders (A) Approving the Sale of the Debtors Brand Assets Free and
                             Clear of All Encumbrances; and (B) Approving the Assumption and
                             Assignment of Executory Contracts and Unexpired Leases [Filed
                             December 10, 2023, Docket No. 862].

                 m.          Limited Objection and Reservation of Rights of Lexon Insurance
                             Company to the Debtors' Motion for an Order or Orders (A)
                             Approving the Sale of Debtors' Brand Assets Free and Clear of All
                             Encumbrances; and (B) Approving the Assumption and Assignment of
                             Executory Contracts and Unexpired Leases [Filed December 11, 2023,
                             Docket No. 863].
                 i.          Debtors’ Witness and Exhibits List for Hearing on December 12, 2023
                             at 10:00 a.m. (ET) [Filed December 11, 2023, Docket No. 866].

        Status: This matter is going forward as to the proposed sales of Biossance, 4U by Tia, and
        MenoLabs.

    STATUS CONFERENCE

        8.    [SEALED] Debtors’ Objection to Claim Nos. 663 and 666 Filed by Lavvan, Inc. [Filed
             on December 6, 2023, Docket No. 839].

        9. [SEALED] Motion to Estimate Lavvan Intellectual Property Claim [Filed on December
           6, 2023, Docket No. 840].

    Response Deadline: December 22, 2023 at 4:00 p.m. [ET].

    Status: A status conference on the matter is going forward.




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 Dated: December 11, 2023                 PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ James E. O’Neill
                                          Richard M. Pachulski (admitted pro hac vice)
                                          Debra I. Grassgreen (admitted pro hac vice)
                                          James E. O’Neill (DE Bar No. 4042]
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